                      Case 19-33395 Document 1 Filed in TXSB on 06/18/19 Page 1 of 20
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
 Southern
 ____________________             Texas
                      District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                          Legacy Reserves Inc.
                                           ______________________________________________________________________________________________________



                                            N/A
                                           ______________________________________________________________________________________________________
2.   All other names debtor used
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              8 2         4 9 1 9 5 5 3
                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            303        W. Wall Street
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                            Suite 1800
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Midland                    TX       79701
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Midland
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 www.legacyreserves.com
                                           ____________________________________________________________________________________________________


6.   Type of debtor                        
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


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Debtor
                 Legacy Reserves Inc.
                _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            2 ___
                                            ___ 1 ___
                                                  1 ___
                                                      1
8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,, (amount subject to adjustment on
                                                             4/01/ and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                         
                                                         ✔   The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12

9.    Were prior bankruptcy cases        ✔ No
                                         
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a                          Please see attached list.
      business partner or an
                                         ✔ Yes.
                                                  Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor         Legacy Reserves Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                       
                                       ✔
                                         A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have      
                                       ✔ No
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                  
                                       ✔
                                         Funds will be available for distribution to unsecured creditors.
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49                            1,000-5,000                             
                                                                                                                  ✔ 25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                      $1,000,001-$10 million                  
                                                                                                                  ✔
                                                                                                                    $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



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Debtor          Legacy Reserves Inc.
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



                                         $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                 
                                                                                                                      ✔ $1,000,000,001-$10 billion

                                         $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                           06/18/2019
                                            Executed on _________________
                                                        MM / DD / YYYY


                                        8     /s/ Albert E. Ferrara, III
                                            _____________________________________________               Albert E. Ferrara, III
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                  General Counsel and Corporate Secretary
                                            Title _________________________________________




18.   Signature of attorney
                                        8    /s/ Duston McFaul
                                            _____________________________________________              Date
                                                                                                                    06/18/2019
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM   / DD / YYYY



                                             Duston McFaul
                                            _________________________________________________________________________________________________
                                            Printed name
                                             Sidley Austin LLP
                                            _________________________________________________________________________________________________
                                            Firm name
                                            1000        Louisiana Street, Suite 5900
                                            _________________________________________________________________________________________________
                                            Number     Street
                                             Houston
                                            ____________________________________________________            TX
                                                                                                           ____________  77002
                                                                                                                        ______________________________
                                            City                                                           State        ZIP Code

                                             (713) 495-4500
                                            ____________________________________                            dmcfaul@sidley.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                             24003309
                                            ______________________________________________________  TX
                                                                                                   ____________
                                            Bar number                                             State




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission
        pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the
        Bankruptcy Code, this Exhibit AA@ shall be completed and attached to the petition.]

                                                                      [Caption as in Form 416B]


                              Attachment to Voluntary Petition for Non-Individuals Filing for
                                             Bankruptcy under Chapter 11

            1. If any of the debtor=s securities are registered under Section 12 of the Securities Exchange Act of
        1934, the SEC file number is _______________.
                                       1-38668


              2. The following financial data is the latest available information and refers to the debtor=s condition on
        ______________.
        03/31/2019

              a. Total assets                                                                        $ 1,420,138,000

              b. Total debts (including debts listed in 2.c., below)                                 $   1,683,019,000

              c. Debt securities held by more than 500 holders
                                                                                                                                    Approximate
                                                                                                                                    number of
                                                                                                                                    holders:

              secured        G    unsecured         G    subordinated            G    $
              secured        G    unsecured         G    subordinated            G    $
              secured        G    unsecured         G    subordinated            G    $
              secured        G    unsecured         G    subordinated            G    $
              secured        G    unsecured         G    subordinated            G    $

              d. Number of shares of preferred stock
              e. Number of shares common stock                                                                                      114,812,812 (as of 5/16/2019)




              Comments, if any:



              3. Brief description of debtor=s business:                      An independent energy company engaged in the development, production, and
        acquisition of oil and natural gas properties in the United States.




            4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
        5% or more of the voting securities of debtor:
        1. FMR LLC




        Official Form 201A                    Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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                                         Attachment 1

           Pending or Concurrent Bankruptcy Cases Filed by Affiliates
               On the date hereof, each of the affiliated entities listed below (including the

Debtor in this chapter 11 case) filed a voluntary petition for relief under title 11 of the United

States Code in the United States Bankruptcy Court for the Southern District of Texas. A

motion has been filed with the Court requesting that the chapter 11 cases of these entities be

jointly administered.

          Entity Name                      District                Date            Case Number

   Legacy Reserves, GP, LLC               S.D. Tex.            June 18, 2019      Not yet assigned

      Legacy Reserves LP                  S.D. Tex.            June 18, 2019      Not yet assigned

    Legacy Reserves Finance
                                          S.D. Tex.            June 18, 2019      Not yet assigned
         Corporation

 Legacy Reserves Services LLC             S.D. Tex.            June 18, 2019      Not yet assigned

 Legacy Reserves Operating LP             S.D. Tex.            June 18, 2019      Not yet assigned

 Legacy Reserves Operating GP
                                          S.D. Tex.            June 18, 2019      Not yet assigned
             LLC

    Legacy Reserves Energy
                                          S.D. Tex.            June 18, 2019      Not yet assigned
        Services LLC

      Dew Gathering LLC                   S.D. Tex.            June 18, 2019      Not yet assigned

  Legacy Reserves Marketing
                                          S.D. Tex.            June 18, 2019      Not yet assigned
            LLC

   Pinnacle Gas Treating LLC              S.D. Tex.            June 18, 2019      Not yet assigned
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                                 LEGACY RESERVES INC.

                      CORPORATE SECRETARY’S CERTIFICATE

                                        JUNE 18, 2019

       I, Albert E. Ferrara, III, General Counsel and Corporate Secretary of Legacy Reserves Inc.
(the “Company”), a Delaware corporation, do hereby certify that on June 10, 2019 the Company’s
Board of Directors adopted the resolutions attached hereto as Exhibit A.

                                   (Signature Page Follows)
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                           Exhibit A
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                    RESOLUTIONS OF THE BOARD OF DIRECTORS
                                     OF
                            LEGACY RESERVES INC.
                          A DELAWARE CORPORATION

         WHEREAS, the board of directors (the “Board”) of Legacy Reserves Inc., a Delaware
corporation (the “Company”), has considered presentations made by, and has reviewed and had
the opportunity to ask questions about the materials presented by, the Company’s management
(“Management”) and legal and financial advisors (the “Advisors”) regarding the liabilities,
liquidity and prospects of the Company, Legacy Reserves GP, LLC, a Delaware limited liability
company, (the “General Partner”), Legacy Reserves LP, a Delaware limited partnership (the
“Partnership”), Legacy Reserves Operating GP LLC, a Delaware limited liability company (“OLP
GP”), Legacy Reserves Operating LP, a Delaware limited partnership (“OLP”), Legacy Reserves
Services LLC, a Texas limited liability company (“Legacy Services”), Legacy Reserves Marketing
LLC, a Texas limited liability company (“Legacy Marketing”), Legacy Reserves Energy Services
LLC, a Texas limited liability company (“Legacy Energy Services”), Dew Gathering LLC, a Texas
limited liability company (“Dew Gathering”), and Pinnacle Gas Treating LLC, a Texas limited
liability company (“Pinnacle Gas” and collectively with Dew Gathering, Legacy Energy Services,
Legacy Marketing, Legacy Services, OLP, OLP GP, the Partnership and the General Partner, the
“Subsidiaries”), the strategic alternatives available to the Company and the Subsidiaries, and the
impact of the foregoing on the Company’s and the Subsidiaries’ businesses (collectively, the
“Strategic Alternatives”); and

         WHEREAS, the Board, on behalf of the Company, acting in its individual capacity and in
its capacity as the sole member of the General Partner, and on behalf of the General Partner acting
in its individual capacity and its capacity as the general partner of the Partnership, and on behalf
of the Partnership, acting in its individual capacity and its capacity as the sole member of each of
Legacy Services and OLP GP, and on behalf of OLP GP, acting in its individual capacity and its
capacity as general partner of OLP, and on behalf of OLP, acting in its individual capacity and its
capacity as sole member of each of Legacy Marketing, Legacy Energy Services and Dew
Gathering, and on behalf of Dew Gathering, in its individual capacity and its capacity as sole
member of Pinnacle Gas (any and all such capacities being collectively referred to herein as the
“Applicable Capacities”) desires to approve the following resolutions.

Commencement of Chapter 11 Case

        WHEREAS, the Board, acting in its Applicable Capacities, has discussed the Strategic
Alternatives with Management and the Advisors and fully considered each of those alternatives
available to the Company and the Subsidiaries, and has determined that it is in the best interests of
the Company and the Subsidiaries to file petitions with the United States Bankruptcy Court for the
Southern District of Texas (the “Bankruptcy Court”) seeking relief under the provisions of chapter
11 of title 11 of the United States Code (the “Bankruptcy Code”) and to pursue confirmation of a
chapter 11 plan of reorganization consistent with the term sheet set forth in Exhibit A to the
Restructuring Support Agreement (as defined below) (as such plan may be amended, modified or
supplemented from time to time, the “Plan”), all in accordance with the terms and conditions set
forth in that certain Restructuring Support Agreement (as such agreement may be amended,


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modified or supplemented from time to time, the “Restructuring Support Agreement,” and together
with such other agreements, including the Backstop Commitment Agreement, contemplated by the
Restructuring Support Agreement and necessary to effectuate the transactions specified in the
Restructuring Support Agreement, the “Plan Documents”) with such form of the Restructuring
Support Agreement having been presented to the Board, which, acting in its Applicable Capacities,
has considered and had the opportunity to ask questions about such Restructuring Support
Agreement.

       NOW, THEREFORE, BE IT RESOLVED, that the Board, acting in its Applicable
Capacities, has determined that it is advisable and in the best interests of the Company and the
Subsidiaries to enter into the Plan Documents and consummate the transactions contemplated
thereby, including the Plan, on the terms and subject to the conditions set forth in the Plan
Documents;

       FURTHER RESOLVED, that the Board, acting in its Applicable Capacities, hereby
approves the Plan Documents and the transactions contemplated thereby, including the Plan,
substantially in the form presented to the Board;

       FURTHER RESOLVED, that the Chief Executive Officer, the President, the Chief
Financial Officer, the General Counsel, the Chief Operating Officer, the Chief Information Officer,
the Chief Accounting Officer, any Executive Vice President, any Vice President and the Corporate
Secretary of the Company and the Subsidiaries, as applicable (collectively, the “Authorized
Officers” and each an “Authorized Officer”), be, and each of them hereby is, authorized and
empowered, in the name and on behalf of Company, acting in its Applicable Capacities, to
negotiate, execute and deliver the Plan Documents in such form and with such changes, additions
and modifications thereto as any such Authorized Officer may deem necessary, appropriate or
advisable, the execution and delivery thereof to be conclusive evidence of the approval of the
Board, acting in its Applicable Capacities;

       FURTHER RESOLVED, that the Authorized Officers be, and each of them hereby is,
authorized and empowered, in the name and on behalf of Company, acting in its Applicable
Capacities, to negotiate, execute, deliver, and file with the Bankruptcy Court all plans, petitions,
schedules, statements, motions, lists, applications, pleadings, papers, affidavits, declarations,
orders and other documents (collectively, the “Chapter 11 Filings”) in such form and with such
changes, additions and modifications thereto as any such Authorized Officer may deem necessary,
appropriate or advisable, the execution, delivery and filing thereof to be conclusive evidence of
the approval of the Board, acting in its Applicable Capacities;

         FURTHER RESOLVED, that the Authorized Officers be, and each of them hereby is,
authorized and empowered, in the name and on behalf of the Company, acting in its Applicable
Capacities to take and perform any and all further acts and deeds that such Authorized Officer
deems necessary, appropriate or advisable in connection with the Company’s and the Subsidiaries’
chapter 11 cases (the “Chapter 11 Cases”) or the Chapter 11 Filings, including, without limitation,
(i) the payment of fees, consent payments, indemnities, taxes and other expenses such Authorized
Officer deems necessary, appropriate or advisable, and (ii) negotiating, executing, delivering,
performing and filing any and all additional documents, schedules, statements, lists, papers,


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agreements, certificates and/or instruments in connection with, or in furtherance of, the Chapter
11 Cases with a view to the successful prosecution of the Chapter 11 Cases, including the Plan
Documents, in such form and with such changes, additions and modifications thereto as any such
Authorized Officer may deem necessary, appropriate or advisable, the execution, delivery and
filing thereof to be conclusive evidence of the approval of the Board, acting in its Applicable
Capacities.

Retention of Advisors

       RESOLVED, that, in connection with the Chapter 11 Cases, the Authorized Officers, be,
and each of them hereby is, authorized and empowered, in the name and on behalf of the Company,
acting in its Applicable Capacities, to employ and retain all assistance by legal counsel,
accountants, financial advisors, investment bankers and other professionals, on behalf of the
Company and the Subsidiaries, that such Authorized Officer deems necessary, appropriate or
advisable in connection with, or in furtherance of, the Chapter 11 Cases, with a view to the
successful prosecution of the Chapter 11 Cases;

        FURTHER RESOLVED, that the law firm of Sidley Austin LLP, 1000 Louisiana Street,
Suite 5900, Houston, Texas 77002, is hereby retained and employed as attorneys for the Company
in the Chapter 11 Cases;

      FURTHER RESOLVED, that the financial advisory firm of Alvarez and Marsal North
America, LLC, 700 Louisiana Street, Suite 3300, Houston, Texas 77002, is hereby retained and
employed as financial advisors for the Company in the Chapter 11 Cases;

       FURTHER RESOLVED, that the financial advisory firm of Perella Weinberg Partners
LP, 767 Fifth Avenue, New York, New York 10153, is hereby retained and employed as
investment bankers for the Company in the Chapter 11 Cases;

        FURTHER RESOLVED, that the firm of Kurtzman Carson Consultants LLC, 2335
Alaska Avenue, El Segundo, California, 90245, is hereby retained and employed as claims agent
for the Company in the Chapter 11 Cases; and

         FURTHER RESOLVED, that the Authorized Officers, be, and each of them hereby is,
authorized and empowered, in the name and on behalf of the Company, acting in its Applicable
Capacities, to take and perform any and all further acts and deeds, including, without limitation,
(i) the payment of any consideration, (ii) the payment of fees, consent payments, indemnities, taxes
and other expenses such Authorized Officer deems necessary, appropriate or advisable, and (iii)
negotiating, executing, delivering, performing, and filing any and all documents, motions,
pleadings, applications, declarations, affidavits, schedules, statements, lists, papers, agreements,
certificates and/or instruments in such form and with such changes, additions and modifications
thereto as any such Authorized Officer may deem necessary, appropriate or advisable in
connection with the retention and employment of professionals contemplated by the foregoing
resolutions, the execution, delivery, performance and filing thereof to be conclusive evidence of
the approval of the Board, acting in its Applicable Capacities.

Debtor-in-Possession Financing


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         RESOLVED, that the Board, acting in its Applicable Capacities, has determined, after
consultation with Management and the Advisors, that, subject to approval of the Bankruptcy Court,
the Company and the Subsidiaries, as debtors and debtors in possession under chapter 11 of the
Bankruptcy Code, shall be, and hereby are, authorized to (i) enter into one or more new debtor in
possession financing facility and any associated documents and consummate, and perform under,
the transactions contemplated therein (collectively, the “Financing Transactions”) with such
lenders and on such terms substantially consistent with those presented to the Board and in such
form and with such changes, additions and modifications thereto as any such Authorized Officer
may deem necessary, appropriate or advisable for the continuing conduct of the affairs of the
Company and the Subsidiaries the execution and delivery thereof to be conclusive evidence of the
approval of the Board, acting in its Applicable Capacities; (ii) pay related fees; and (iii) grant
security interests in and liens upon all or substantially all of the Company’s and the Subsidiaries’
assets, in such case, as may be deemed necessary, appropriate or advisable by any one or more of
the Authorized Officers in connection with the Financing Transactions; and

        FURTHER RESOLVED, that (i) the Authorized Officers be, and each of them hereby is,
authorized and empowered, for and on behalf of the Company, acting in its Applicable Capacities,
and the Subsidiaries, as debtors and debtors in possession, to take such actions and execute,
acknowledge, deliver and verify such agreements, certificates, instruments, guaranties, notices and
any and all other documents to facilitate the Financing Transaction in such form and with such
changes, additions and modifications thereto as any such Authorized Officer may deem necessary,
appropriate or advisable, the execution, acknowledgement, delivery and verification thereof to be
conclusive evidence of the approval of the Board, acting in its Applicable Capacities (collectively,
the “Financing Documents”); (ii) Financing Documents containing such provisions, terms,
conditions, covenants, warranties and representations as may be deemed necessary, appropriate or
advisable by any of the Authorized Officers are hereby approved; (iii) the Authorized Officers be,
and each of them hereby is, authorized and empowered, for and on behalf of the Company, acting
in its Applicable Capacities, and the Subsidiaries, as debtors and debtors in possession, to authorize
counsel to draft, file and seek approval of the Financing Documents; and (iv) the actions of any
Authorized Officers taken pursuant to this resolution, including the execution, acknowledgment,
delivery and verification of all agreements, certificates, instruments, guaranties, notices and other
documents, in such form and with such changes, additions and modifications thereto as any such
Authorized Officer may deem necessary, appropriate or advisable, the execution,
acknowledgment, delivery and verification thereof to be conclusive evidence of the approval of
the Board, acting in its Applicable Capacities.

Exit Facility Financing

        RESOLVED, that the Board, acting in its Applicable Capacities, has determined, after
consultation with Management and the Advisors, that, subject to approval of the Bankruptcy Court,
the Company and the Subsidiaries, as debtors and debtors in possession under chapter 11 of the
Bankruptcy Code, shall be, and hereby are, authorized to (i) enter into one or more exit facilities
(the “Exit Facilities”) and any associated documents and consummate, and perform under, the
transactions contemplated therein (collectively, the “Exit Facility Transactions”) with such lenders
and on such terms substantially consistent with those presented to the Board and in such form and
with such changes, additions and modifications thereto as any such Authorized Officer may deem


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necessary, appropriate or advisable for the continuing conduct of the affairs of the Company and
the Subsidiaries, the execution and delivery thereof to be conclusive evidence of the approval of
the Board, acting in its Applicable Capacities; (ii) pay related fees; and (iii) grant security interests
in and liens upon all or substantially all of the Company’s and the Subsidiaries’ assets, in such
case, as may be deemed necessary, appropriate or advisable by any Authorized Officer in
connection with the Exit Facility Transactions; and

        RESOLVED, that: (i) the Authorized Officers be, and each of them hereby is, authorized
and empowered, for and on behalf of the Company, acting in its Applicable Capacities, and the
Subsidiaries, as debtors and debtors in possession, to take such actions and execute, acknowledge,
deliver and verify such agreements, certificates, instruments, guaranties, notices and any and all
other documents in such form and with such changes, additions and modifications thereto as any
such Authorized Officer may deem necessary, appropriate or advisable to facilitate the Exit
Facility Transactions, the execution, acknowledgement, delivery and verification thereof to be
conclusive evidence of the approval of the Board, acting in its Applicable Capacities (collectively,
the “Exit Facility Documents”); (ii) Exit Facility Documents containing such provisions, terms,
conditions, covenants, warranties and representations as may be deemed necessary, appropriate or
advisable by any Authorized Officer are hereby approved; (iii) the Authorized Officers be, and
each of them hereby is, authorized and empowered, for and on behalf of the Company, acting in
its Applicable Capacities, and the Subsidiaries, as debtors and debtors in possession, to authorize
counsel to draft, file and seek approval of the Exit Facility Documents; and (iv) the actions of any
Authorized Officer taken pursuant to this resolution, including the execution, acknowledgment,
delivery and verification of all agreements, certificates, instruments, guaranties, notices and other
documents in such form and with such changes, additions and modifications thereto as any such
Authorized Officer may deem necessary, appropriate or advisable, the execution,
acknowledgement, delivery and verification thereof to be conclusive evidence of the approval of
the Board, acting in its Applicable Capacities.

General Authorization and Prior Acts

        RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized and
empowered, for and on behalf of the Company, acting in its Applicable Capacities, to take or cause
to be taken any and all such actions and to enter into, execute and deliver, or to cause to be entered
into, executed and delivered, any and all such acknowledgments, agreements, applications,
certificates, declarations, instruments, contracts, notices, powers, statements and other instruments
and documents, or to effect any filings with any and all appropriate regulatory authorities, as may
be required or as any such Authorized Officer may deem necessary, necessary, appropriate or
advisable to effectuate and carry out the transactions contemplated by, and the purposes and intent
of, the foregoing resolutions; all such actions to be performed in such manner and all such
acknowledgements, agreements, applications, certificates, declarations, instruments, contracts,
notices, powers, statements and other instruments and documents to be executed and delivered in
such form as the Authorized Officer performing or executing, or causing the execution of, the same
shall approve, such Authorized Officer’s performance or execution and delivery thereof to be
conclusive evidence of such approval and the approval of the Board, acting in its Applicable
Capacities;



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           Case 19-33395 Document 1 Filed in TXSB on 06/18/19 Page 15 of 20



        FURTHER RESOLVED, that the authority granted to the Authorized Officer of the
Company under the foregoing resolutions shall be deemed to include, in the case of each such
resolution, the authority to perform such further acts and deeds for and on behalf of the Company,
acting in its Applicable Capacities, necessary, appropriate or advisable, in the judgment of such
Authorized Officers, to carry out the transactions contemplated thereby, and all acts and deeds
previously performed by any of the Authorized Officers or advisors or counsel to the Company,
for and on behalf of the Company, acting in its Applicable Capacities, prior to the date hereof that
are within the authority conferred by the foregoing resolutions are each adopted, approved, ratified
and confirmed in all respects as the authorized acts and deeds of the Company and the Subsidiaries,
as applicable; and

       FURTHER RESOLVED, that if any party requires that the authorizations of any of the
foregoing matters be adopted in another form of resolutions, such resolutions, in such form as may
be approved by any of the Authorized Officers of the Company shall be deemed to have been
adopted hereby by the Board, acting in its Applicable Capacities, as of the date hereof.




242691720v.5
                                          Case 19-33395 Document 1 Filed in TXSB on 06/18/19Case Page
Debtor __Legacy Reserves Inc., et al.,_________________________                                              16 of 20
                                                                                                 number (if known)_____________________________________



    Fill in this information to identify the case:
    Debtor name: Legacy Reserves Inc., et al.,
    United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                                    Check if this is an amended
    Case number (If known): ______________
                                                                                                                                                                     filing

    Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims
    and Are Not Insiders                                                                           12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person
    or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places
    the creditor among the holders of the 30 largest unsecured claims.
                                                                                                                                                               Amount of unsecured claim
                                                                                                                                                               if the claim is fully unsecured, fill in only
                                                                                                                                             Indicate if claim unsecured claim amount. If claim is partially
    Name of creditor and complete mailing address,                       Name, telephone number, and email address of          Nature of the is contingent, secured, fill in total claim amount and deduction
                  including zip code                                                   creditor contact                           claim      unliquidated, or for value of collateral or setoff to calculate
                                                                                                                                                 disputed                        Deduction for
                                                                                                                                                                      Total claim, if
                                                                                                                                                                                        value of collateral   Unsecured claim
                                                                                                                                                                      partially secured
                                                                                                                                                                                        or setoff

1 Wilmington Trust, National Association                          Shawn Goffinet, Assistant Vice President                        8% Senior
    15950 North Dallas Parkway, Suite 550                         Email - Sgoffinet@Wilmingtontrust.com                        Notes Due 2020
                                                                                                                                                                                                               $   218,075,940
    Dallas, TX 75248                                              Phone - 972-383-3156                                           plus accrued
                                                                                                                                    interest
2 Wilmington Trust, National Association                          Shawn Goffinet, Assistant Vice President                      6.625% Senior
    15950 North Dallas Parkway, Suite 550                         Email - Sgoffinet@Wilmingtontrust.com                        Notes Due 2021
                                                                                                                                                                                                               $   134,248,713
    Dallas, TX 75248                                              Phone - 972-383-3156                                           plus accrued
                                                                                                                                    interest
3 Wilmington Trust, National Association                          Shawn Goffinet, Assistant Vice President
                                                                                                                               8% Convertible
    15950 North Dallas Parkway, Suite 550                         Email - Sgoffinet@Wilmingtontrust.com
                                                                                                                                Senior Notes
    Dallas, TX 75248                                              Phone - 972-383-3156                                                                                                                         $   112,258,188
                                                                                                                               Due 2023 plus
                                                                                                                               accrued interest

4 Jupiter JV, LP                                                  Matthew Dillard, Partner
    c/o TPG Opportunities Partners, L.P.                          Email - MDillard@tpg.com                                                          Contingent,
    345 California Street, Suite 3300                             Phone - 415-743-1500                                           Trade Debt        Unliquidated,                                               $     3,854,000
    San Francisco, CA 94104                                                                                                                          Disputed

5 Terra Energy Holdings LLC                                       Michael Land, CEO
    4828 Loop Central Drive, Suite 900                            Email - Mland@Terraep.com
                                                                                                                                 Trade Debt                                                                    $     3,115,425
    Houston, TX 77081                                             Phone - 888-223-4595

6 FTS International Services LLC                                  Lance Turner, Chief Financial Officer
    777 Main Street, Suite 2900                                   Email - Lance.Turner@Ftsi.com
                                                                                                                                 Trade Debt                                                                    $     2,575,330
    Fort Worth, TX 76102                                          Phone - 817-862-2000
                                                                  Fax - 866-877-1008
7 McVay Drilling Co                                               Tina Flemens, Controller
    401 East Bender                                               Email - Tina@Mcvaydrilling.com
    P.O. Box 2450                                                 Phone - 575-397-3311                                           Trade Debt                                                                    $     1,702,818
    Hobbs, NM 88240

8 B&L Pipeco Services Inc                                         Steve Tait, President & CEO
    20465 State Hwy 249 Suite 200                                 Email - Stait@Pipeco.com
                                                                                                                                 Trade Debt                                                                    $     1,192,737
    Houston, TX 77070                                             Phone - 281-893-2868

9 Devon Energy Production                                         Jeff Ritenour, EVP & CFO
    333 West Sheridan Avenue                                      Email - Jeff.Ritenour@Dvn.com
                                                                                                                                 Trade Debt                                                                    $     1,093,103
    Oklahoma City, OK 73102-5015                                  Phone - 405-228-4260

10 Kel Tech Inc                                                   Frankie Keller, President
    3408 East Highway 158                                         Email - Fkeller@Keltechinc.com
    P.O. Box 11383                                                Phone - 432-684-4700                                           Trade Debt                                                                    $      941,625
    Midland, TX 79702-8383                                        Fax - 432-686-8000

11 New Tech Global Ventures                                       Larry A. Cress, President & CEO
    1030 Regional Park Drive                                      Email - Lcress@Ntglobal.com
                                                                                                                                 Trade Debt                                                                    $      878,068
    Houston, TX 77060                                             Phone - 281-951-4330
                                                                  Fax - 281-951-8719
12 Basic Energy Services                                          Thomas M. Patterson, President & CEO
    801 Cherry Street, Suite 2100                                 Email - Roe.Patterson@Basicenergyservices.com
                                                                                                                                 Trade Debt                                                                    $      726,731
    Fort Worth, TX 76102                                          Phone - 817-334-4100

13 Citation Oil & Gas Corp                                        Christopher A. Phelps, SVP, Chief of Staff & CFO
    14077 Cutten Road                                             Email - Cphelps@Cogc.com
                                                                                                                                 Trade Debt                                                                    $      656,592
    Houston, TX 77069-2212                                        Phone - 281-891-1000




Official Form 204                                                   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                           page 1
                                      Case 19-33395 Document 1 Filed in TXSB on 06/18/19Case Page
Debtor __Legacy Reserves Inc., et al.,_________________________                                          17 of 20
                                                                                             number (if known)_____________________________________




                                                                                                                                                     Amount of unsecured claim
                                                                                                                                                     if the claim is fully unsecured, fill in only
                                                                                                                                   Indicate if claim unsecured claim amount. If claim is partially
    Name of creditor and complete mailing address,          Name, telephone number, and email address of             Nature of the is contingent, secured, fill in total claim amount and deduction
                  including zip code                                      creditor contact                              claim      unliquidated, or for value of collateral or setoff to calculate
                                                                                                                                       disputed                        Deduction for
                                                                                                                                                         Total claim, if
                                                                                                                                                                           value of collateral   Unsecured claim
                                                                                                                                                         partially secured
                                                                                                                                                                           or setoff

14 Summit ESP LLC                                       John Kenner, President & CEO
    835 West 41st Street South                          Email - Jkenner@Summitesp.com
                                                                                                                       Trade Debt                                                                 $        575,293
    Tulsa, OK 74107                                     Phone - 918-446-4471

15 Borets US Inc                                        Wil Faubel, President
    10497 Town and Country Way Suite. 310               Email - Wil.Faubel@Borets.com
                                                                                                                       Trade Debt                                                                 $        546,153
    Houston, TX 77024                                   Phone - 713-980-4530
                                                        Fax - 713-980-4558
16 C&J Spec-Rent Services Inc                           Don Gawick, President & CEO
    3990 Rogerdale Road                                 Email - Don.Gawick@cjes.com
                                                                                                                       Trade Debt                                                                 $        414,200
    Houston, TX 77042                                   Phone - 334-222-1188
                                                        Fax - 361-767-2649
17 Workstrings International LLC                        Greg Elliott, President
    1150 Smede Hwy                                      Email - Greg.elliott@workstrings.com
                                                                                                                       Trade Debt                                                                 $        401,917
    Broussard, LA 70518                                 Phone - 337-989-9675
                                                        Fax - 337-492-0012
18 Legacy Artificial Lift Solutions                     Scott Floyd, CEO
    3000 W. Interstate 20                               Email - Sfloyd@Legacyals.com
                                                                                                                       Trade Debt                                                                 $        397,127
    Midland, TX 79701                                   Phone - 432-207-3272

19 Titan Petroservices LLC                              Valarie Sanchez, Controller
    6100 Interstate 20                                  Email - Vsanchez@Titanpetroservices.com
                                                                                                                       Trade Debt                                                                 $        362,050
    Midland, TX 79706                                   Phone - 432-699-0000
                                                        Fax - 432-699-0001
20 Key Energy Services Inc                              Louis Coale, Controller
    1301 Mckinney, Suite 1800                           Email - Lcoale@Keyenergy.com
                                                                                                                       Trade Debt                                                                 $        325,522
    Houston, TX 77010                                   Phone - 866-638-3716
                                                        Fax - 713-432-5717
21 Gesch Contracting Inc                                Chance Gesch, President
    3101 S County Rd 1180                               Phone - 325-212-3877
                                                                                                                       Trade Debt                                                                 $        322,645
    Midland, TX 79706

22 ASC Production Services Ltd                          Lori Leger
    721 B T Washington Ave                              Email - Lori@Ascproductionservicesltd.com
                                                                                                                       Trade Debt                                                                 $        308,011
    Teague, TX 75860-2171                               Phone - 903-391-1265
                                                        Fax - 903-389-3387
23 Irongate Rental Services LLC                         Tim Van Roekel, Controller
    19500 State Highway 249                             Email - Tim.Vanroekel@irondatees.com
    Suite 600                                           Phone - 832-678-8585                                           Trade Debt                                                                 $        307,654
    Houston, TX 77070                                   Fax - 832-678-8586

24 Apergy ESP Systems LLC                               Sivasankaran Somasundaram, President & CEO
    2445 Technology Forest Blvd                         Email - Soma@Doverdfm.com
    Building 4, 12th Floor                              Phone - 281-298-4680                                           Trade Debt                                                                 $        301,097
    The Woodlands, TX 77381

25 Precision Well Service Inc                           Daniel Lass, President
    403 Commerce Drive                                  Email - Dannylass@Gmail.com
                                                                                                                       Trade Debt                                                                 $        290,364
    Gillette, WY 82718                                  Phone - 307-680-9343

26 Downhole Drilling Services LLC                       Kelly Hebert, President
    1244 Petroleum Parkway                              Email - Khebert@Downholedrilling.com
                                                                                                                       Trade Debt                                                                 $        267,414
    Broussard, LA 70518                                 Phone - 337-264-6433
                                                        Fax - 337-264-6028
27 Endurance Lift Solutions LLC                         Dan Runzheimer, President
    6308 West Interstate 20                             Email - Runzheimer@Endurancelift.com
                                                                                                                       Trade Debt                                                                 $        266,108
    Midland, TX 79706                                   Phone - 252-555-0618

28 General Datatech LP                                  JW Roberts, CEO
    999 Metromedia Place                                Email - Jroberts@Gdt.com
                                                                                                                       Trade Debt                                                                 $        250,740
    Dallas, TX 75247                                    Phone - 214-857-6100
                                                        Fax - 214-857-6500
29 KTX Electric LLC                                     Larissa Keller, Controller
    3700 N County Road 1150                             Email - Lkeller@Ktxelectric.com
                                                                                                                       Trade Debt                                                                 $        243,650
    Midland, TX 79705-9563                              Phone - 432-686-1079

30 David Crichton                                       Kristeen Hand, Partner
    c/o The Spence Law Firm                             Email - Hand@spencelawyers.com
                                                                                                                                          Contingent,
    15 S. Jackson St.                                   Phone - 307-733-7290
                                                                                                                        Litigation       Unliquidated,                                                Undetermined
    P.O. Box 548                                        Fax - 307-733-5248
                                                                                                                                           Disputed
    Jackson, WY 83001




Official Form 204                                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                         page 2
                      Case 19-33395 Document 1 Filed in TXSB on 06/18/19 Page 18 of 20

 Fill in this information to identify the case and this filing:


              Legacy Reserves Inc.
 Debtor Name __________________________________________________________________
                                         Southern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):   _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a
              declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    06/18/2019
        Executed on ______________
                                                           8 /s/ Albert E. Ferrara, III
                                                               _________________________________________________________________________
                      MM / DD / YYYY                            Signature of individual signing on behalf of debtor



                                                                Albert E. Ferrara, III
                                                               ________________________________________________________________________
                                                                Printed name

                                                                General Counsel and Corporate Secretary
                                                                _______________________________________________________________________
                                                                Position or relationship to debtor




Official Form 202                         Declaration Under Penalty of Perjury for Non-Individual Debtors
          Case 19-33395 Document 1 Filed in TXSB on 06/18/19 Page 19 of 20



                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                            §
In re:                                      §      Chapter 11
                                            §
LEGACY RESERVES INC.                        §      Case No. 19-_____ (__)
                                            §
         Debtor.                            §      (Joint Administration Requested)
                                            §

                         CORPORATE OWNERSHIP STATEMENT

               Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, the following list identifies all corporations, other than a governmental unit, which

directly or indirectly own 10% or more of any class of equity interests in the above-captioned

Debtor:

                   Direct Owner                                 Indirect Owner

 FMR LLC
                      Case 19-33395 Document 1 Filed in TXSB on 06/18/19 Page 20 of 20

 Fill in this information to identify the case and this filing:


              Legacy Reserves Inc
 Debtor Name __________________________________________________________________
                                         Southern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
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WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


                                                       Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    06/18/2019
        Executed on ______________                         8 /s/ Albert E. Ferrara, III
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Albert E. Ferrara, III
                                                               ________________________________________________________________________
                                                                Printed name

                                                                General Counsel and Corporate Secretary
                                                                _______________________________________________________________________
                                                                Position or relationship to debtor




Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
